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AO 245B (Rev. 09/17)     Judgment in a Criminal Case
                          Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                                         District of Montana
                                                                                     )
                 UNITED STATES OF AMERICA                                            )
                                                                                             JUDGMENT IN A CRIMINAL CASE
                            v.
                       CHASE RYAN STORLIE
                                                                                     )
                                                                                     )
                                                                                             Case Number: CR 17-07-H-SEH-02
                                                                                                                                         FILED
                                                                                     )
                                                                                     )       USM Number: 16786-046                        JAN O3 2018
                                                                                     )
                                                                                     )         Palmer A. Hoovestal (Appointed)         Clerk, U.S. Distrid Court
                                                                                             Defendant's Attorney                         Elisbid Of Montana
                                                                                     )                                                          Helena
THE DEFENDANT:
ii1! pleaded guilty to count(s)         I of the Superseding Indictment

D pleaded nolo contendere to eount(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                                 Offense Ended

  21 U.S.C. §§ 841(a)(1) and 846      Conspiracy to Dislribute and Possess with lnlen1 to Distribute Methamphetamine    01/2016               01/2017




       The defendant is sentenced as provided in pages 2 through                    _ _7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)

 ii1! Count(s)      II and Ill of the Superseding Indictment    D 1s        ~ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenclant must notify the court and United States attorney of material changes in econom1c circumstances.




                                                                                     Sam E. Haddon, United States District Judge
                                                                                    Name and Title of Judge


                                                                                     1/3/2018
                                                                                    Date
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AO 245B (Rev. 09/l 7) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                              Judgment ~ Page       2      of         7
 DEFENDANT: CHASE RYAN STORLIE
 CASE NUMBER: CR 17-07-H-SEH-02

                                                                IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

            360 months.




     Ill' The court makes the following recommendations to the Bureau of Prisons:
  While incarcerated, it is recommended that Derendant participate in the 500-hour residential drug treatment program, if deemed eligible. This
  recommendation is made upon the condition that participation or successful completion of the 500-hour residential drug treatment program not reduce time in
  custody. It is the recommendation of the Court that the Defendant be placed in the federal correctional facility in Sheridan, Oregon, if deemed eligible for
  placement at that facility.


     fi1"   The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
            D   at   _________ D a.m.                              D p.m.         on

            D   as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D before 2 p.m. on
            D as notified by the United States Marshal.
            D   as notified by the Probation or Pretrial Services Office.



                                                                       RETURN

 I have executed this judgment as follows:




            Defendant delivered on                                                              to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                       with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL



                                                                                By
                                                                                                       DEPUTY UNITED STATES MARSHAL
                        Case 6:17-cr-00007-DLC Document 239 Filed 01/03/18 Page 3 of 7

 AO 245B (Rev. 09/i 7) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                            Judgment-Page _ _ _ of
 DEFENDANT: CHASE RYAN STORLIE
 CASE NUMBER: CR 17-07-H-SEH-02
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, you \Vill be on supervised release for a term of:
     5 years.




                                                      MANDATORY CONDITIONS

l.      You m~st not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from Rny unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
               D The above drug testing condition is suspended, based on the court's detennination that you
                   pose a low risk of future substance abuse. (check ifapplicable)
4.       D      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                restitution. (check ifapplicable)
5.       [tr You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
           directed by the probation officcr1 the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.       D You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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 AO 2458 (Rev. 09/l 7) Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                                  Judgment--Page - - ~ - - of _ _~ - - -
DEFENDANT: CHASE RYAN STORLIE
CASE NUMBER: CR 17-07-H-SEH-02

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you arc authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instrucls you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instmctions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 1O days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation of!iceJ" at least IO days before the change. If notifying the probation officer at leas,t_ 10
      days in advance is not possible due to unanticipated circumstances, you must r.otif)' the probation officer within 72 hours of              -·
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
      convicted of a felony, you must not knowingly comrmmicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not O\Vll, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that_,was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or taseis).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant withou,t
      first getting the permission of the court,                                                                                                    '
12.   If the probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instmction. The probation officer may contact the
      person and confirm that you have notified the peGon about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation offlcer has instructed me on the conditions specified by the court and has provided me with a \Vfittcn copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                       Date _ _ _ _ _ _ _ _ _ _ _ __
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 AO 245B(Rcv. 09/l 7) Judgment in a Criminal CB..'le
                        Sheet 3D -   Supervised Release
                                                                                          Judgment-Page _ _ _ of - ~ ~ -
DEFENDANT: CHASE RYAN STORLIE
CASE NUMBER: CR 17-07-H-SEH-02

                                            SPECIAL CONDITIONS OF SUPERVISION
1. All employment must be approved in advance in writing by United States Probation. The defendant shall consent to
third-party disclosure to any employer or potential employer.

2. The defendant will provide United States Probation with any requested financial information and shall incur no new lines
of credit without prior approval of United States Probation. Defendant must notify the probation office of any material
changes in his economic circumstances that might affect his ability to pay restitution, fines or special assessments
imposed by the Court.

3. The defendant shall submit his person, residence, place of employment, vehicles, and papers, to a search, either with or
without a warrant by any probation officer based on reasonable suspicion of contraband or evidence in violation of a
condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
occupants that the premises may be subject to searches under the terms of this condition. The defendant shall allow
seizure of suspected contraband for further examination.

4. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
United States Probation, until the defendant is released from the program by the probation office. The defendant is to pay
part or all of the cost of this treatment, as directed by United States Probation.

5. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is a
primary item of sale.

6. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
defendant shall pay all or part of the costs of testing as directed by United States Probation.

7. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana
or other synthetic stimulant that is not manufactured for human consumption, for the purpose of altering his mental or
physical state.

8. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
marijuana card or prescription.
                        Case 6:17-cr-00007-DLC Document 239 Filed 01/03/18 Page 6 of 7
AO 245B (Rev. 09/l 7)    Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                                  Judgment -   Page    6     of        7
 DEFENDANT: CHASE RYAN STORLIE
 CASE NUMBER: CR 17-07-H-SEH-02
                                                 CRIMINAL MONET ARY PENAL TIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                     JVTA Assessment*                   Fine                            Restitution
 TOTALS             $ 100.00                       $ N/A                              $ N/A                           $ N/A



 D    The detennination of restitution is deferred until      , An Amended Judgment in a Criminal Case (AO 245C) will be entered
                                                         ----
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximatelyfroportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 l .S.C. § 3664(1), all nonfedcral victims must be paid
      before the United States is paid.                                                                                                    -

 Name of Payee                                                             Total Loss**             Restitution Ordered               Priority or Percentage




TOTALS                                 $                          0.00               $ - - - - - - - 0.00
                                                                                                     --


D      Restitution amount ordered pursuant to plea agreement $

D      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursl!ant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to l 8 U.S.C. § 36l2(g).

D      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D    the interest requirement is waived for the            D       fine   D   restitution.

       D    the interest requirement for the         D     fine       D     restitution is modified as follows:

• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosscs are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 6- Schedule of Payments
                                                                                                         Judgment -   Page    7     of        7
DEFENDANT: CHASE RYAN STORLIE
CASE NUMBER: CR 17-07-H-SEH-02

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     D       Lump sum payment of$                           due immediately, balance due

              D    not later than                                , or
              D    in accordance with    D   C,      D D,    D    E, or     D F below; or

B     D       Payment to begin immediately (may be combined with          oc,        D D,or       D F below); or

C     D       Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of S - ~ ~ - - - - over a period of
             _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D     D       Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ - - - ~ - - - over a period of . ·
             _ _ _ _ _ (e.g., months or years), to commence     _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              tertn of supen:ision; or

E     D Payment during the tcnn of supervised release will commence within         -~~~~(e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     !ill    Special instructions regarding the payment or criminal monetary penalties:

               Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
               payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
               the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
               the Clerk, United States District Court, 901 Front Street, Suite 2100, Helena, MT 59626 and designated
               •• Assessment Chase Ryan Storlie••.
:Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:
        N3-17-01-09 DPMS AR-15 rifle, SIN FFH063536;N3-17-0l-09 Fabrique National 9mm semi-automatic pistol, SIN 37063;
        N3-17-0l-03 Bushmaster ARIS .223 rifle, SIN BFl436878;N3-I 7-01-03 Colt MK IV 80 Officer ACP .45 caliber pistol, SIN FA28824;
        and N3-17-01-10 Taurus PT 840 .40 caliber oistol. SIN SJN82358                                                                            D
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVT A assessment\ (8) penalties, and (9) costs, including cost of prosecution and court costs.
